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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    DALIA LIZETH ROMAN,               )         No. CV-F-04-5814 OWW
                                       )         (No. CR-F-02-5379 OWW)
10                                     )
                                       )         MEMORANDUM DECISION DENYING
11                    Petitioner,      )         PETITONER'S MOTION TO
                                       )         VACATE, SET ASIDE OR CORRECT
12              vs.                    )         SENTENCE PURSUANT TO 28
                                       )         U.S.C. § 2255 AND DIRECTING
13                                     )         CLERK OF COURT TO ENTER
     UNITED STATES OF AMERICA,         )         JUDGMENT FOR RESPONDENT
14                                     )
                                       )
15                    Respondent.      )
                                       )
16                                     )

17
          On June 9, 2004, Petitioner Dalia Lizeth Roman timely filed
18
     a motion to vacate, set aside or correct sentence pursuant to 28
19
     U.S.C. § 2255.
20
          A.   BACKGROUND.
21
          Petitioner was charged by Superseding Information with use
22
     of a communication facility in connection with a drug offense in
23
     violation of 21 U.S.C. § 843(b).          Petitioner pleaded guilty
24
     pursuant to a written Plea Agreement.         The Plea Agreement
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     specifically provided:
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1               Defendant, Dalia Roman, hereby acknowledges
                the benefits she has received pursuant to the
2               plea disposition set forth in this memorandum
                and her guilt of the offense to which she is
3               pleading guilty. Defendant hereby waives all
                rights to contest the means by which her plea
4               of guilty will be entered before the District
                Court. This waiver includes, but is not
5               limited to, any claim, whether in District
                Court or in appellate proceedings and on
6               direct appeal or subsequently, that the
                dictates of Federal Rule of Criminal
7               Procedure 11, or any successor Rules,
                legislation or case authority, were not
8               followed in the entry of defendant Roman’s
                guilty plea. The defendant is also aware
9               that Title 18, United States Code, Section
                3742 affords a defendant the right to appeal
10              the sentence imposed. Acknowledging all
                this, the defendant knowingly waives the
11              right to appeal, on any ground whatsoever,
                any sentence so long as the initial term of
12              imprisonment is four (4) years or less. The
                defendant also waives her right to challenge
13              her conviction, sentence or the manner in
                which her sentence was determined in any
14              collateral attack, including but not limited
                to a motion brought under Title 18, United
15              States Code, Sections 2255 or 2241.

16   Petitioner was sentenced on October 27, 2003 to 48 months

17   incarceration and 12 months of supervised release.          Petitioner

18   did not file a Notice of Appeal.

19        B.   GROUNDS FOR RELIEF.

20              1.   Ineffective Assistance of Counsel.

21        Petitioner contends that she is entitled to relief because

22   of ineffective assistance of counsel.        Petitioner asserts that

23   counsel was ineffective because “he never ensure a fair

24   proceeding, he only came to visit movant one or two times in the

25   whole process and one of those times when he came he ask movant

26   to sign the Plea Agreement without giving movant any explanation

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1    or information in reference to what she was singning [sic].”

2    Petitioner asserts that “counsel never told movant of her rights

3    he never fully informed her of the rights relinquished by

4    pleading guilty.”

5         Claims asserting the ineffective assistance of counsel are

6    analyzed under the two-prong test announced in Strickland v.

7    Washington, 466 U.S. 668 (1984).        As explained in United States

8    v. Quintero-Barraza, 78 F.2d 1344, 1348 (9th Cir. 1995), cert.

9    denied, 519 U.S. 848 (1996):

10             According to Strickland, there are two
               components to an effectiveness inquiry, and
11             the petitioner bears the burden of
               establishing both ... First, the
12             representation must fall ‘below an objective
               standard of reasonableness.’ ... Courts
13             scrutinizing the reasonableness of an
               attorney’s conduct must examine counsel’s
14             ‘overall performance,’ both before and at
               trial, and must be highly deferential to the
15             attorney’s judgments ... In fact, there
               exists a ‘strong presumption that counsel
16             “rendered adequate assistance and made all
               significant decisions in the exercise of
17             reasonable professional judgment.”’ ... In
               short, defendant must surmount the
18             presumption that, ‘under the circumstances,
               the challenged action “might be considered
19             sound trial strategy.”’ ... Thus, the proper
               inquiry is ‘whether, in light of all the
20             circumstances, the identified acts or
               omissions were outside the wide range of
21             professionally competent assistance.’ ....

22             If the petitioner satisfies the first prong,
               he must then establish that there is ‘a
23             reasonable probability that, but for
               counsel’s unprofessional errors, the result
24             would have been different ....’

25   Where a petitioner enters a guilty plea upon the advice of

26   counsel, the voluntariness of the plea depends upon whether the

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1    petitioner received effective assistance of counsel.           In order to

2    prevail on an ineffective assistance of counsel claim, “the

3    [petitioner] must show that there is a reasonable probability

4    that, but for counsel’s errors, he would not have pleaded guilty

5    and would have insisted on going to trial.”         Hill v. Lockhart,

6    474 U.S. 52, 56-57 (1985).

7         The Plea Agreement executed by Petitioner, her attorney,

8    James Elia, and the Assistant United States Attorney,

9    specifically sets forth all of the statutory and constitutional

10   rights Petitioner would relinquish by pleading guilty.

11   Petitioner was placed under oath prior to pleading guilty

12   pursuant to the Plea Agreement.       Petitioner stated under oath

13   that she had read the Plea Agreement, that she had discussed it

14   with her attorney and that she understood the Plea Agreement.1

15   The Court reviewed with Petitioner every aspect of the Plea

16   Agreement, including the elements of the offense and the maximum

17   punishment allowed by law, and the various statutory and

18   constitutional rights relinquished by pleading guilty.

19   Petitioner’s assertions of ineffective assistance of counsel are

20   not supported by the record.      Further, Petitioner makes no

21   contention that she would not have pleaded guilty and would have

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23        1
           Petitioner intimates in her motion that she does not speak
     English.    This intimation is not supported by the record.
24   Petitioner stated at sentencing that she had lived in the United
     States since she was one-year old, that she was a graduate of
25   Roosevelt High School and had participated in school government
     activities.   The docket does not show that Petitioner was ever
26   assisted by the Court interpreter.

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1    insisted on going to trial.

2         Petitioner’s motion for relief on the ground of ineffective

3    assistance of counsel is DENIED.

4                 2.   Disparity in Sentence/Cruel and Unusual Punishment.

5         Petitioner moves the Court “to reconsider the sentence

6    imposed and to reduce her sentence to levels which are more

7    representative of the rehabilitative goals of the Criminal

8    Justice System.”     Petitioner “only request [sic] this in view of

9    the unusual severity of her sentence for a routine narcotic

10   case.”

11        Petitioner is not entitled to relief pursuant to Section

12   2255.    In the Plea Agreement, Petitioner specifically waived her

13   right to challenge her sentence so long as it was four years or

14   less.    Petitioner was sentenced to 48 months.

15        Petitioner’s motion for relief on this ground is DENIED.

16                3.   Violation of Rule 32, Federal Rules of Civil

17   Procedure.

18        Petitioner moves for relief on the ground that “the Court

19   erred by failing to make specific findings as to the accuracy of

20   information in the presentence report.”        Petitioner asserts that

21   she “keep telling Counsel of all the issues that movant was not

22   in agree [sic], and the counsel keep saying that this would not

23   affect her sentence and that she was not going to do jail time

24   that he had control of everything Counsel never sit down with

25   movant to discuss all the descripances [sic] on the presentence

26   report.”    Petitioner contends that the presentence report

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1    “contains several factual inaccuracies, presumably offered by the

2    government for example [sic] quantaty of drugs used for

3    sentencing, criminal history, realation [sic] with the co-

4    defendants and so many issues that movant do not agree and keept

5    telling the counsel to object to all those issues but nounsel

6    [sic] never argue to all this descripancies.”

7         Petitioner’s contentions are belied by the record and

8    without merit.   Petitioner stated to the Court that she had read

9    the presentence report and discussed it with Mr. Elia.

10   Petitioner was given the opportunity to address the Court prior

11   to the imposition of sentence.      At no time did Petitioner assert

12   that the presentence report was inaccurate in any way.

13   Petitioner admitted the drug quantity when she pleaded guilty and

14   her relations with the co-defendants was known to the Court.        The

15   presentence report indicated that Petitioner had no prior

16   criminal history.

17        Petitioner’s motion for relief on this ground is DENIED.2

18                               CONCLUSION

19        For the reasons stated:

20        1.   Petitioner Dalia Lizeth Roman’s motion to vacate, set

21   aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED.

22        2.   The Clerk of the Court is directed to enter Judgment for

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           On December 20, 2004, Petitioner applied to amend her Section
     2255 motion to include a claim for relief pursuant to Blakely v.
25   Washington, 542 U.S. 296 (2004). Blakely is not retroactive to
     cases on collateral review. Schardt v. Payne, 414 F.3d 1025 (9th
26   Cir.2005)

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1    Respondent.

2    IT IS SO ORDERED.

3    Dated:   May 27, 2008                  /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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